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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

UNITED STATES OF AMERICA                          §
                                                  §
                                                  §
                                                  §
VS.                                               §     CRIMINAL NO. H-12-02
                                                  §
                                                  §
                                                  §
OMAR VENTURA, et al.                              §

                                                ORDER

       Defendant Ventura filed an unopposed motion for continuance, (Docket Entry No. 39). The

government and the codefendants are unopposed. The court finds that the interests of justice are

served by granting this continuance and that those interests outweigh the interests of the public and

the defendants in a speedy trial. The motion for continuance is GRANTED. The docket control

order is amended as follows:

       Motions are to be filed by:                     March 26, 2012
       Responses are to be filed by:                   April 9, 2012
       Pretrial conference is reset to:                April 16, 2012 at 8:45 a.m.
       Jury trial and selection are reset to:          April 23, 2012 at 9:00 a.m.


               SIGNED on February 14, 2012, at Houston, Texas.

                                                      ______________________________________
                                                               Lee H. Rosenthal
                                                         United States District Judge
